     Case 2:20-cv-02679-MCS-E Document 37-1 Filed 05/03/21 Page 1 of 1 Page ID #:975




1                     DECLARATION OF FATIMARGENTINA LACAYO
2           I, Fatimargentina Lacayo, do hereby declare and state as follows:
3           1.     I am an Assistant United States Attorney (“AUSA”) for the Central District
4     of California, and the attorney responsible for representing Louis DeJoy, Postmaster
5     General, in the case of Ebony Ballard v. Louis DeJoy, CV 20-02679 MCS (Ex). As such,
6     I have personal knowledge of the following facts and, if called as a witness, I could and
7     would testify competently thereto.
8           2.     As the assigned AUSA on this matter, I have access to and am familiar with
9     the exhibits, initial disclosures, discovery responses and documents produced by both
10    parties during the course of litigation.
11          3.     On November 17, 2020, I attended the deposition of Delores Fractious,
12    which was transcribed by a certified court reporter. A true and accurate copy of portions
13    of the deposition of Delores Fractious is attached hereto as Exhibit A.
14          I declare under penalty of perjury that the foregoing is true and correct.
15          Executed this 3rd day of May 2021, at Los Angeles, California
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17                                                  /s/ Fatimargentina Lacayo
                                                    Fatimargentina Lacayo
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                                           Declaration
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